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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF FLORIDA
                              TALLAHASSEE DIVISION

DUNCAN MOORE,                                         )
                                                      )
       Plaintiff,                                     )
                                                      )       Case No.: 4:09-CV-273-RH/WCS
vs.                                                   )
                                                      )
TALLAHASSEE MEMORIAL HEALTHCARE,                      )
INC., a Florida non-profit corporation,               )
                                                      )
       Defendant.
                                                      /

              ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIM

       Defendant, Tallahassee Memorial HealthCare, Inc. (“TMH”), by and through undersigned

counsel, submits its Answer and Affirmative Defenses to the Complaint, and its Counterclaim, as

follows:

                                             ANSWER

       1.      Admitted for jurisdictional purposes only and otherwise denied.

       2.      Admitted for jurisdictional purposes only and otherwise denied.

       3.      Denied that Plaintiff served as President and Chief Executive Officer (“CEO”) of

TMH from January 29, 1988 until June 23, 2003. Without knowledge sufficient to admit or deny

the allegations contained in the second sentence of paragraph 3, therefore, denied.

       4.      The first sentence is admitted. The second sentence is admitted for jurisdictional

purposes only and otherwise denied.

       5.      Admitted for purposes of venue only and otherwise denied.

       6.      Admitted.
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        7.      Admitted that at some time around October of 1998, TMH and Moore agreed to

amend the 1988 Employment Agreement. Denied that the document attached to the Complaint as

Exhibit “B” is a true and complete copy of the 1998 Employment Agreement.

        8.      Admitted that the 1998 Employment Agreement, among other things, provided for

retirement benefits for Moore, and that paragraph 8 of the Complaint accurately quotes a portion of

the language thereof. Denied that the quoted language provides a complete description of the

retirement benefits provided by the 1998 Employment Agreement or agreed upon by TMH and

Moore or that it is legally valid.

        9.      Admitted that said attachment is a portion of a TMH Board of Directors resolution,

but denied that the attachment to the Complaint is a complete document.

        10.     Admitted that Moore and TMH executed a document dated October 22, 2000, a

copy of which is attached to the Complaint as Exhibit “C” (“2000 Employment Agreement”), but

denied that Exhibit “C” represents the complete agreement between Moore and TMH or that it is

legally valid. Admitted that the language regarding Moore’s retirement benefits in the 2000

Employment Agreement was changed from the language in the 1998 Employment Agreement. The

remainder of the allegations contained in paragraph 10 are denied.

        11.     Admitted that the 2000 Employment Agreement describes a portion of an

“employee pension benefit plan,” as that term is defined at 29 U.S.C. § 1002 (2)(A), established and

maintained by TMH, and that TMH acted as the Plan Administrator for any plan that is found to

exist. Denied that the 2000 Employment Agreement is a complete or accurate description of that

“employee pension benefit plan.”

        12.     Admitted that the 2000 Employment Agreement contained provisions entitling

Moore to certain retirement benefits and severance payments if he resigned for good reason or was




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terminated without cause prior to the expiration of his employment term. Denied that the 2000

Employment Agreement reflected the actual and complete agreement between the parties or that it

is legally valid. Further denied that subparagraphs 12(a) and (b) of the Complaint accurately reflect

the substance of the 2000 Employment Agreement. The remainder of the allegations contained in

paragraph 12 are also denied.

       13.     Admitted that the 2000 Employment Agreement contains a provision entitled “Base

Compensation” and that paragraph 13 of the Complaint accurately quotes the language thereof.

The remainder of the allegations are denied.

       14.     Admitted that the parties executed an agreement entitled “Agreement Regarding

Early Retirement and Termination of Employment” (“Retirement Agreement”) which is attached to

the Complaint as Exhibit “D.” The remainder of the allegations are denied.

       15.     Admitted that paragraph 15 of the Complaint accurately quotes language from the

Retirement Agreement. With regard to the specific language, the document speaks for itself.

       16.     Admitted that paragraph 16 of the Complaint accurately quotes language from the

Retirement Agreement. With regard to the specific language, the document speaks for itself.

       17.     Admitted that Moore retired effective June 23, 2003, and that Moore became

entitled to certain retirement benefits and severance payments at that time. The remainder of the

allegations contained in paragraph 17 are denied.

       18.     Admitted that immediately following Moore’s retirement, TMH began making bi-

weekly payments to Moore. The remainder of the allegations contained in paragraph 18 are denied.

       19.     Admitted that, subsequent to Moore’s retirement, TMH reduced the initial payments

to Moore. Admitted that TMH announced this change by letter to Moore dated May 10, 2004, and




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that a copy (without its attachments) is attached to the Complaint as Exhibit “E.” The remainder of

the allegations contained in paragraph 19 are denied.

          20.   Denied that TMH created the plan reflected in the document attached to the

Complaint as Exhibit “F” on or about April 21, 2004. Admitted that the document attached to the

Complaint as Exhibit “F” sets forth the plan of TMH which was created in 1998.

          21.   Admitted that the document attached to the Complaint as Exhibit “F” (“2004

SERP”) defines Moore’s retirement benefits, and that TMH reduced payments to Moore in May of

2004 (as reflected in the letter attached to the Complaint as Exhibit “G”). The remainder of the

allegations contained in paragraph 21 are denied.

          22.   Admitted that, on or about November 10, 2005, Moore made a claim on TMH for

retirement benefits under the 2000 Employment Agreement, and said claim is attached to the

Complaint as Exhibit “H.” Denied that Exhibit “H” includes any claim for severance benefits under

the Retirement Agreement. The remainder of the allegations contained in paragraph 22 are denied.

          23.   Admitted that by letter dated May 21, 2006, TMH conveyed to Moore its decision

concerning Moore’s claim for benefits and that said letter of decision is attached to the Complaint as

Exhibit “I.” The remainder of the allegations contained in paragraph 23 are denied.

          24.   Admitted.

          25.   Admitted.

          26.   Admitted.

          27.   Without knowledge sufficient to admit or deny, therefore, denied.

                                             COUNT I

          28.   The Defendant’s responses in paragraphs 1 through 27 above are incorporated

herein.




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       29.     Denied.

       30.     Denied.

       31.     Denied.

       32.     Denied.

       33.     Denied that Moore has fulfilled the condition precedent of exhaustion of

administrative remedies with regard to any claims for severance payments. The remainder of the

allegations in paragraph 33 are admitted with regard to any claim for retirement benefits.

       34.     All allegations contained in Plaintiffs’ Complaint that are neither admitted nor

denied herein are hereby denied.

                                            DEFENSES

                                         FIRST DEFENSE
                                       (No Violation of Law)
       The Defendant’s actions in determining the benefits payable to Plaintiff were in all respects

proper and consistent with applicable law and regulation.

                                       SECOND DEFENSE
                                     (Reasonable Interpretation)
       Defendant’s determination of benefits payable to Plaintiff was a proper and reasonable

interpretation and application of the Supplemental Employee Retirement Plan (“SERP”), and was

not arbitrary and capricious.

                                         THIRD DEFENSE
                                     (Breach of Fiduciary Duty)

       If at the time Moore entered into the 1998 Employment Agreement, the 2000 Employment

Agreement and the Retirement Agreement, he understood the language regarding “. . . the total

salary and benefits submitted . . . on the required IRS 990 Forms” to have the meaning he now




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claims, Moore, as President and CEO of TMH, breached his fiduciary duty to TMH when he

entered into those agreements and said agreements are therefore invalid.

                                        FOURTH DEFENSE
                                       (Fraudulent Inducement)
       Moore fraudulently induced TMH to enter into the 1998 Employment Agreement. Such

fraudulent inducement renders that agreement or portion thereof, and the 2000 Employment

Agreement as modified by the Retirement Agreement, which were based on the 1998 Employment

Agreement, subject to reformation by this court. Moore, as the President and CEO of TMH, drafted

the 1998 Employment Agreement and represented to members of the Board of Directors (“Board”)

that the language regarding “. . . the total salary and benefits submitted . . . on the required IRS 990

Forms” served two purposes. In a letter dated September 24, 1998, he stated that the contract would

reflect “the recent retirement plan expansion awarded by the Compensation Committee” and that

such a change was “made necessary by the fact that in reporting the compensation of me . . . as

required by the Internal Revenue Service my compensation is allocated among three different TMH

corporations and is reported in component parts.” If the language regarding “. . . the total salary and

benefits submitted . . . on the required IRS 990 Forms” is found to include benefits that the

appropriate members of the Board had not discussed or approved, including post-retirement

benefits, or does not include an offset, Moore’s representations as to the basis and the reasons for

the new definition of “compensation” were false and he either knew they were misrepresentations,

or should have known they were misrepresentations. Moore, as the President and CEO of TMH,

intended to induce members of the Board to accept his representations regarding the new language

and such representations were false. The members of the Board justifiably accepted and relied on

Moore’s status as a fiduciary of TMH and on Moore’s representations that the language he drafted

accurately reflected the plan that it had approved. The members of the Board did not intend to



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materially modify the retirement benefits approved in 1998 when the 2000 Employment Agreement

and the Retirement Agreement were executed, and therefore the pertinent language in those

agreements is also based on Moore’s fraudulent inducement. If the language regarding “. . . the

total salary and benefits submitted . . . on the required IRS 990 Forms” is found to have the meaning

propounded by Moore, then TMH suffers damages by having to pay him additional benefits and

such agreements should be reformed.

                                          FIFTH DEFENSE
                     (Fraudulent or Negligent Omissions of Contract Language)

       If the language regarding “. . . the total salary and benefits submitted . . . on the required IRS

990 Forms” is found to have the meaning that Moore now claims, Moore either fraudulently or

negligently failed to inform the Board of Directors of TMH of the financial impact of the 1998

Employment Agreement. Moore, as the President and CEO of TMH, had a duty to disclose the

meaning of that Agreement, to ensure that the Agreement accurately stated what the Compensation

Committee had authorized, and to ensure that any contract into which he entered with TMH was fair

and in the best interest of the corporation. Such omissions render that agreement, and subsequent

agreements based on the same omissions, subject to reformation by this court.

                                         SIXTH DEFENSE
                   (Fraudulent or Negligent Omission of Financial Information)
       If “Base Compensation” is found to have the definition that he now claims, Moore either

negligently or fraudulently omitted to inform the Board of Directors of TMH of the financial impact

of the 2000 Employment Agreement and Retirement Agreement. Moore, as the President and CEO

of TMH, had a duty to disclose the full financial impact of his retirement benefit, to ensure that the

Agreement accurately stated what the Compensation Committee had authorized, and to ensure that

any contract into which he entered with TMH was fair and in the best interest of the corporation.



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TMH had a relationship with Moore based on trust and confidence. Moore did not accurately or

fully inform the Board members of the changes between the 1998 Employment Agreement and

the 2000 Employment Agreement, and in particular of the impact of the removal of the reference

to the Compensation Committee minutes and attachments. Unless at the time of contracting

Moore was also mistaken as to the financial consequences of the changes he made, then he knew

or should have known what the Board understood those consequences to be, and under his duty

of disclosure, he should have informed TMH’s directors of the changes he was making. Such

omissions render the agreements subject to reformation by this court.

                                       SEVENTH DEFENSE
                                          (Mutual Mistake)
       Mutual mistakes regarding the meaning of the language “. . . the total salary and benefits

submitted . . . on the required IRS 990 Forms” in the 1998 Employment Agreement and the

definitions of “Base Compensation” and “Benefits” in the 2000 Employment Agreement require

that the 1998 Employment Agreement and 2000 Employment Agreement, as modified by the

Retirement Agreement, be reformed to express the agreement between Moore and TMH.

                                         EIGHTH DEFENSE
                                         (Unilateral Mistake)
       TMH made unilateral mistakes in the 1998 Employment Agreement regarding the meaning

of the language “. . . the total salary and benefits submitted . . . on the required IRS 990 Forms,” and

regarding the definition of “Base Compensation” in the 2000 Employment Agreement, as modified

by the Retirement Agreement. The meaning of those terms, and the financial consequences thereof,

were basic assumptions on which the 1998 Employment Agreement and the 2000 Employment

Agreement and Retirement Agreement were entered into and the effects of the mistakes are such

that enforcement of the contract would be unconscionable, or Moore, as President and CEO of

TMH, had reason to know of the mistake or his fault caused the mistake. TMH is entitled to


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rescind the 1998 Employment Agreement, and the 2000 Employment Agreement and the

Retirement Agreement, or such parts of those agreements as were affected by the mistakes.

                                            NINTH DEFENSE
                                  (Failure to State a Cause of Action)

        The Complaint fails to state a cause of action against TMH upon which relief can be

granted, because Plaintiff failed to attach a complete copy of one of the operative agreements, the

1998 Employment Agreement.

                                            TENTH DEFENSE
                                           (Equitable Defenses)

        Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver, acquiescence,

ratification, laches, and/or estoppel.

                                         ELEVENTH DEFENSE
                                          (Exhaustion of Remedies)

        Plaintiff failed to exhaust his administrative remedies with regard to any claims he may

be asserting, and failed to adequately participate and/or cooperate in the administrative process

which was required under ERISA to determine the benefits to which Moore is entitled.

                                          TWELFTH DEFENSE
                                                (Payment)
        TMH asserts the defense of payment and is entitled to an offset against any additional or

back retirement benefits that may be found to be due Moore, because it paid Moore an excess

amount of retirement and severance benefits between June of 2003 and June of 2006.

                                         THIRTEENTH DEFENSE
                                           (Failure to Mitigate)
        Plaintiff failed to mitigate his damages, if any.




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                                     FOURTEENTH DEFENSE
                                       (Statute of Limitations)
        Plaintiff’s claim is barred in whole or in part by the applicable statute of limitations.

                                      FIFTEENTH DEFENSE
                                         (Fraud or Illegality)
        Plaintiff’s claim is barred in whole or in part by the doctrine of Unclean Hands, because

Plaintiff engaged in fraud or illegality in the negotiation of any retirement benefits set forth in the

1998 Employment Agreement, the 2000 Employment Agreement, and the Retirement Agreement.

                                      SIXTEENTH DEFENSE
                                          (Other Defenses)

        TMH reserves the right to amend its answer to assert additional defenses that may become

available or appear during the proceedings in this case, and also reserves the right to assert other and

related defenses as may become available.

                                        COUNTERCLAIM

        Pursuant to Rule 13(a), Fed. R. Civ. P., defendant/counter-plaintiff Tallahassee Memorial

HealthCare, Inc. (“TMH”) asserts the following counterclaims against plaintiff/counter-

defendant Duncan Moore (“Moore”).

                                   Allegations Applicable to All Counts

        1.      This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

sec. 1367(a).

        2.      Moore held the positions of President and Chief Executive Officer (“CEO”) of

TMH from July 1, 1988 until June 23, 2003.

        3.      Moore and TMH entered into an employment agreement effective January 29,

1988, a copy of which is attached hereto as Exhibit “1” (“1988 Employment Agreement”).




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       4.      At all times relevant to this action, Moore, as President and CEO, was a fiduciary

of TMH and owed TMH the duties of, inter alia, full disclosure and fair dealing with regard to

the contracts he entered into with TMH.

       5.      At all times relevant to this action, all the members of TMH’s Board of Directors

served on a volunteer basis and did not receive any salary for such service.

       6.      At all times relevant to this action, the members of TMH’s Board of Directors

were entitled to rely on the completeness and accuracy of the information provided by Moore,

especially when he was entering into contracts with TMH.

       7.      At some time in or around early 1998, Moore requested that TMH institute a

supplemental executive retirement plan for himself and several other senior executives. To that

end, he put members of TMH’s Board of Directors (“Board”) in contact with a compensation

consultant named Paul Flood (“Flood”).

       8.      Flood met with members of the Board on multiple occasions and presented them

with suggested options for such a plan, and potential financial consequences of those options.

On September 9, 1998, the Board approved the creation of a “Supplemental Executive

Retirement Plan” (“SERP”).

       9.      On or about October 22, 1998, TMH and Moore executed another employment

agreement, a copy of which is attached hereto as Exhibit “2” (“1998 Employment Agreement”).

The minutes from the September 9, 1998 meeting approving the creation of a SERP are attached

to and incorporated by reference into the 1998 Employment Agreement. Points and explanations

that Flood had presented to members of the Board are attached to and incorporated by reference

into said minutes.




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        10.    When TMH and Moore executed the 1998 Employment Agreement, members of

the Board had considered and authorized a SERP that would give Moore a SERP “target” of 65

percent of salary at 15 years of employment.

        11.    At the time Moore executed the 1998 Employment Agreement, he was aware of

what information members of the Board had reviewed and what SERP benefits they had

authorized. He was also aware of what amounts were being reported to the IRS on TMH’s Form

990.

        12.    The 1998 Employment Agreement was drafted by Moore or with language

provided by him and under his direction and supervision.

        13.    If the language regarding “. . .the total salary and benefits submitted . . . on the

required IRS 990 Forms” is found to have the meaning that Moore now claims, Moore either

fraudulently or negligently failed to inform the Board of Directors of TMH of the financial impact

of the 1998 Employment Agreement. Moore, as the President and CEO of TMH, had a duty to

disclose the meaning and financial impact of that Agreement, to ensure that the Agreement

accurately stated what the Compensation Committee had authorized, and to ensure that any contract

into which he entered with TMH was fair and in the best interest of the corporation.

        14.    Moore, as the President and CEO of TMH, drafted the 1998 Employment

Agreement and represented to members of the Board of Directors (“Board”) that the language

regarding “. . .the total salary and benefits submitted . . . on the required IRS 990 Forms” served two

purposes. In a letter dated September 24, 1998, which letter accompanied a draft of the 1998

Employment Agreement that was created at the direction of Moore, Moore stated that the change

would link the contract to “the recent retirement plan expansion awarded by the Compensation

Committee” and that such a change was “made necessary by the fact that in reporting the




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compensation of me…as required by the Internal Revenue Service my compensation is allocated

among three different TMH corporations and is reported in component parts.” A true and correct

copy of said letter and draft are attached hereto as Exhibit “3.”

        15.     If the language regarding “. . .the total salary and benefits submitted . . . on the

required IRS 990 Forms” is found to include benefits that the appropriate members of the Board had

not discussed or approved, including post-retirement benefits, or does not include the offset required

to meet the benefit target of 65 percent of salary, Moore’s representations as to the basis and the

reasons for the new definition of “compensation” were false and he either knew they were

misrepresentations, or should have known they were misrepresentations. Moore, as the President

and CEO of TMH, intended to induce members of the Board to accept his representations regarding

the new language and such representations were false.

        16.     The members of the Board justifiably accepted and relied on Moore’s status as a

fiduciary of TMH and on Moore’s representations that the language he drafted accurately reflected

the plan that it had approved.

        17.     On or about October 22, 2000, TMH and Moore executed yet another

employment agreement, a copy of which is attached hereto as Exhibit “4” (“2000 Employment

Agreement”).

        18.     The members of the Board did not intend to materially modify the retirement

benefits approved in 1998 when the 2000 Employment Agreement was executed.

        19.     When TMH and Moore executed the 2000 Employment Agreement, TMH’s

Board had not authorized any change in the calculation of Moore’s SERP benefits, and Moore

provided Board members with reasons for the change in relevant language from the 1998




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Employment Agreement that hid that he was expanding or attempting to expand his future SERP

benefits.

       20.     The 2000 Employment Agreement was drafted with language provided by Moore

and at his direction.

       21.     Moore did not discuss with the Board or any of its members the financial impact

of removing the September 1998 minutes, and the attachments thereto, as part of his

Employment Agreement.

       22.     If “Base Compensation” is found to have the definition that he now claims, Moore

either negligently or fraudulently omitted to inform the Board of Directors of TMH of the financial

impact of the 2000 Employment Agreement. Moore, as the President and CEO of TMH, had a duty

to disclose the full financial impact of his retirement benefit, to ensure that the Agreement

accurately stated what the Compensation Committee had authorized, and to ensure that any contract

into which he entered with TMH was fair and in the best interest of the corporation. TMH had a

relationship with Moore based on trust and confidence. Moore did not accurately or fully inform

the Board members of any changes in his retirement benefits from the 1998 Employment

Agreement to the 2000 Employment Agreement, and in particular of the impact of the removal

of the reference to the Compensation Committee minutes and attachments.

       23.     Prior to his termination, Moore did not apprise the Board’s members of or discuss

with them the financial implications of his interpretation of his SERP benefits, even though he

knew what financial projections Flood had provided to the Board in 1998 and knew that those

were the only relevant financial projections with which the Board had been provided.

       24.     Moore executed audit letters every year that he was President and CEO of TMH

indicating, inter alia, that he had made available to the auditors all financial records and related




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data; that there were no material agreement that had not been properly recorded in the accounting

records; and that all liabilities of TMH of which he was aware were included in the consolidated

financial statements.

       25.     Despite his execution of the aforementioned audit letters, Moore did not make

copies of the 1998 Employment Agreement, the 2000 Agreement, or the Retirement Agreement

available to TMH’s auditors, even though by the time those agreements were executed, any

SERP benefits to which he is entitled were vested.

       26.     Moore and TMH agreed that Moore would retire effective June 23, 2003.

Pursuant to that agreement, on or about January 29, 2003, Moore and TMH executed an

“Agreement Regarding Early Retirement and Termination of Employment” (“Retirement

Agreement”), a copy of which is attached hereto as Exhibit “5.”

       27.     The members of the Board did not intend to materially modify the retirement

benefits approved in 1998 when the Retirement Agreement was executed, and TMH’s Board did

not authorize any change in the calculation of Moore’s annual SERP benefits.

       28.     Moore did retire from TMH effective June 23, 2003. Beginning July 3, 2003,

TMH began making bi-weekly retirement and severance payments to Moore. Initially, TMH

made such bi-weekly payments in the amount of $23,936.04.

       29.     Effective beginning with the payment made May 21, 2004, and as explained in a

letter to Moore dated May 10, 2004, a copy of which is attached hereto as Exhibit “6,” TMH

reduced that amount to $21,653.85, minus $912.88 that it claims it was owed for overpayments

made from June 23, 2003 until said date.




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       30.     On or about April 21, 2004, TMH re-codified the “Tallahassee Memorial

HealthCare, Inc. Supplemental Executive Retirement Plan” (“Restated SERP”) that it had

adopted in September of 1998, a copy of which is attached hereto as Exhibit “7.”

       31.     Effective June 23, 2006, when the three-year severance period contemplated by

the 2003 Retirement Agreement ended, TMH began paying Moore $219,400.00 per year in

SERP benefits, at the rate of $18,283.30 monthly.

       32.     By letter dated November 10, 2005, Moore claimed additional retirement benefits

under the 2000 Employment Agreement, a copy of which letter is attached as Exhibit “8”

(“Claim Letter”). Although TMH invited Moore to attend hearings on his claim and to submit

evidence, Moore neither submitted evidence that would support his interpretation, beyond copies

of the 2000 Employment Agreement and the Retirement Agreement, nor did he appear in person

or even submit an affidavit.

       33.     By letter dated May 21, 2006, TMH informed Moore of its decision regarding his

Claim Letter. A copy of that May 21, 2006 letter (“Claim Decision”) is attached hereto as

Exhibit “9.”

       34.     By letter dated August 7, 2006, a copy of which is attached hereto as Exhibit “10”

(“Appeal Letter”), Moore appealed TMH’s decision as set forth in the Claim Decision. Although

TMH invited Moore to attend hearings on his appeal and to submit any evidence that was not

already in the administrative record, Moore neither submitted evidence that would support his

interpretation, beyond copies of the employment agreements and the Retirement Agreement, nor

did he appear in person or even submit an affidavit.

       35.     By letter dated May 15, 2007, a copy of which is attached hereto as Exhibit “11”

(“Appeal Decision”), TMH informed Moore of its decision regarding his Appeal Letter. As set




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forth in the Appeal Decision, TMH concluded that Moore is entitled to $227,596.84 per year in

retirement benefits under the SERP.

       36.     Upon issuance of the Appeal Decision, TMH began paying Moore at the new rate

of $227,596.84 per year, or $18,966.40 monthly, and also paid Moore the difference between

that amount and the $219,400.00 per year it had been paying him since June 23, 2006 through

the date of the Appeal Decision.

       37.     Moore has claimed SERP benefits from TMH that exceed, by hundreds of

thousands of dollars per year, any financial projections that were ever presented to TMH’s Board

as representing the financial implications of said benefits.

                                             COUNT I
                                        (Declaratory Relief)

       38.     Defendant/counter-plaintiff incorporates and realleges as if fully set forth herein

paragraphs 1 through 37 of the counterclaim.

       39.     There exists a genuine, bona fide dispute between TMH and Moore over the

amount of retirement benefits to which Moore is entitled, and the amount in dispute exceeds

$75,000.00. Declaratory relief is therefore proper pursuant to 28 U.S.C. sec. 2201.

       40.     TMH asserts that Moore’s interpretation of the language regarding his retirement

benefits in the 1998 Employment Agreement and the 2000 Employment Agreement, as modified

by the Retirement Agreement, is incorrect and unreasonable. TMH respectfully submits that this

Court may and should interpret said language to give effect to the reasonable intent and

expectations of the parties.

       41.     TMH seeks a declaration from this Court that its interpretation of Moore’s

employment agreements is correct, and that Moore is only entitled to $227,596.84 per year in

SERP retirement benefits.


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        WHEREFORE, defendant/counter-plaintiff, TMH, requests that the Court enter a

declaratory judgment in TMH’s favor, declaring that it has correctly determined the amount and

basis of Moore’s SERP retirement benefits in its Appeal Decision, and awarding TMH its costs

and attorneys’ fees incurred as a result of Moore’s claim and this action, pursuant to the 1998

Employment Agreement and the 2000 Employment Agreement as modified by the Retirement

Agreement, and also pursuant to 29 U.S.C. sec. 1132(g)(1).

                                                COUNT II
                                                (Rescission)

        42.     Defendant/counter-plaintiff incorporates and realleges as if fully set forth herein

paragraphs 1 through 38 of the counterclaim.

        43.     This is a claim against Moore for rescission of the 2000 Employment Agreement

as modified by the Retirement Agreement, and of the 1998 Employment Agreement, or at least

the portions thereof that affect Moore’s retirement benefits.

        44.     The rescission requested is appropriate based on the existence of fraud in the

inducement of the relevant agreements, mutual or unilateral mistake as to the scope and financial

consequences of Moore’s retirement benefits set forth therein, and Moore’s intentional or

negligent omission of material information when obtaining the Board’s agreement to the

language he requested.

        45.     It would be inequitable for Moore to receive the retirement benefits he now

claims, for all the reasons set forth herein.

        46.     TMH would not be unjustly enriched if this Court grants the requested relief, as

this Court can reform the operative agreements to comport with the actual and informed

agreement of the parties, or can enforce TMH’s obligations to Moore as governed by an oral

agreement, since Moore is entitled to some retirement benefits under a “top hat plan.” Moreover,


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Moore had no reasonable expectation of receiving the amount of retirement benefits he now

claims.

          47.   TMH is entitled to a judgment rescinding the 1998 Employment Agreement and

the 2000 Employment Agreement, as modified by the Retirement Agreement, or portions

thereof, so that Moore receives retirement benefits consistent with the anticipated benefits set

forth in the September 1998 minutes and attachments, and consistent with the codification of the

SERP Plan in 2004.

          WHEREFORE, defendant/counter-plaintiff TMH requests that, if Moore’s interpretation

of the relevant documents is found to be technically accurate, the Court enter judgment in

TMH’s favor rescinding the SERP terms as expressed in the various employment agreements.

TMH also requests that the Court award TMH its costs and attorneys’ fees incurred as a result of

Moore’s claim and this action, pursuant to the 1998 Employment Agreement and the 2000

Employment Agreement as modified by the Retirement Agreement, and also pursuant to 29

U.S.C. sec. 1132(g)(1).

                                           COUNT III
                                          (Reformation)

          48.   Defendant/counter-plaintiff incorporates and realleges as if fully set forth herein

paragraphs 1 through 37 of the counterclaim.

          49.   This is a claim against Moore for reformation of the 2000 Employment

Agreement as modified by the Retirement Agreement, and of the 1998 Employment Agreement

if this Court deems reformation of both agreements appropriate.

          50.   The reformation requested is appropriate based on the existence of fraud in the

inducement of the relevant agreements, mutual or unilateral mistake as to the scope and financial

consequences of Moore’s retirement benefits set forth therein, and Moore’s intentional or


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negligent omission of material information when obtaining the Board’s agreement to the

language he requested.

        51.     It would be inequitable for Moore to receive the retirement benefits he now

claims, for all the reasons set forth herein.

        52.     The 2000 Employment Agreement, as modified by the Retirement Agreement,

should be reformed to remedy the inequities currently present with regard to the calculation of

Moore’s retirement benefits, and to reflect the true and original intent and reasonable

expectations of the parties at the time the contract was entered into.

        53.     TMH is entitled to a judgment to reform the 2000 Employment Agreement, as

modified by the Retirement Agreement, so that it provides Moore with retirement benefits

consistent with the anticipated benefits set forth in the September 1998 minutes and attachments,

and consistent with the codification of the SERP Plan in 2004.

        WHEREFORE, defendant/counter-plaintiff TMH requests that, if Moore’s interpretation

of the relevant documents is found to be technically accurate, the Court enter judgment in

TMH’s favor, reforming the SERP terms as expressed in the various employment agreements to

conform to the SERP approved by the Board in 1998, and as re-codified in 2004. TMH also

requests that the Court award TMH its costs and attorneys’ fees incurred as a result of Moore’s

claim and this action, pursuant to the 1998 Employment Agreement and the 2000 Employment

Agreement as modified by the Retirement Agreement, and also pursuant to 29 U.S.C. sec.

1132(g)(1).

                                                COUNT IV
                                                (Repayment)

        54.     Defendant/counter-plaintiff incorporates and realleges as if fully set forth herein

paragraphs 1 through 53 of the counterclaim.


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       55.    If TMH obtains judgment in its favor on Counts I, II, or III of its counterclaim,

then it is entitled to repayment of excessive amounts paid to Moore between June 23, 2003 and

June 23, 2006 (“Severance Period”).         Such payments were made based on erroneous

interpretations of the definition of “Base Compensation.”

       WHEREFORE, defendant/counter-plaintiff, TMH, requests that the Court enter a

judgment in TMH’s favor, awarding TMH repayment of overpayments to Moore during the

Severance Period, and awarding TMH its costs and attorneys’ fees incurred as a result of

Moore’s claim and this action, pursuant to the 1998 Employment Agreement and the 2000

Employment Agreement as modified by the Retirement Agreement, and also pursuant to 29

U.S.C. sec. 1132(g)(1).

       Respectfully submitted this 9th day of October, 2009.

                                                    s/ Kenneth R. Hart
                                                    KENNETH R. HART
                                                    Fla. Bar No. 0192580
                                                    RUTH E. VAFEK
                                                    Fla. Bar No. 0034220
                                                    AUSLEY & McMULLEN
                                                    P. O. Box 391
                                                    Tallahassee, FL 32302
                                                    Telephone: (850) 224-9115
                                                    Fax: (850) 222-7560
                                                    AND
                                                    S. JONATHAN VINE
                                                    FBN 0010966
                                                    RACHEL BEIGE
                                                    FBN 0016366
                                                    COLE, SCOTT & KISSANE, P.A.
                                                    1645 Palm Beach Lakes Blvd.2nd Floor
                                                    W. Palm Beach, FL 33401
                                                    Telephone: (561) 383-9203
                                                    Fax: (561) 683-8977

                                                    Attorneys For Defendant
                                                    Tallahassee Memorial
                                                    Healthcare, Inc.


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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 9th day of October, 2009, a copy of the above and foregoing
was filed electronically. Notice of this filing will be sent to the following persons by operation
of the Court’s electronic filing system, facsimile or U.S. mail.

Paul E. Parrish
Stephen H. Grimes
Holland & Knight LLP
100 N. Tampa Street,
Suite 4100
Tampa, Florida 33602


                                                    s/ Kenneth R. Hart
                                                    Attorney




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